          Case 1:21-cr-00032-DLF Document 97 Filed 02/03/22 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

        v.
                                                          No. 21-cr-32 (DLF)
 GUY WESLEY REFFITT,

                Defendant.


                                             ORDER

       Before the Court are the government’s motions to limit the cross-examination of Secret

Service Agency witnesses, Dkt. 49, and to permit lay opinion testimony, Dkt. 49. For the

reasons stated on the record during the January 20, 2022 and February 3, 2022 hearings, these

motions are granted.

       As set forth in the government’s motion to limit the cross-examination of Secret Service

Agency witnesses, the government intends to call one or more witnesses who will testify that

Secret Service agents were on duty to protect Vice President Pence and his family at the Capitol

when the riot occurred on January 6 and that the riot affected their performance of that duty. On

cross-examination of these witnesses, the defense is precluded from eliciting testimony about:

(1) the location where the Vice President, his family, or their motorcade were taken once the riot

began on January 6; (2) Secret Service protocols about locations where Secret Service protectees

or their motorcades are taken at the Capitol or other government buildings when emergencies

occur; and (3) Secret Service protective details, such as the number of and type of agents the

Secret Service assigns to protectees. The defense may, however, ask the Secret Service witness

about (1) whether Reffitt’s actions on January 6 affected the agents’ protection of the vice




                                                 1
          Case 1:21-cr-00032-DLF Document 97 Filed 02/03/22 Page 2 of 3




president or his family, and (2) whether the agents took any actions specifically in response to

Reffitt’s conduct.

       The government also intends to call FBI Special Agent Laird Hightower to testify that the

firearm holster visible in photograph exhibits of Reffitt at the Capitol appears to be the same

make and model of the holster Agent Hightower saw in Reffitt’s bedroom. The Special Agent

can testify about why he believes the holster that he saw (and was photographed) in Reffitt’s

bedroom was a Blackhawk Serpa CQC concealment holster. Further, he can explain the

distinctive features of the holster that enabled him to recognize it, both in the bedroom and in the

above-referenced photographs. The agent can point out these distinctive features on the holster

that the government intends to introduce as a demonstrative exhibit and explain how they work.

Finally, the agent can demonstrate how a firearm fits into the holster.

       Agent Hightower is permitted to testify as a lay witness because, as an FBI Special Agent

and gun owner, he has carried the Blackhawk Serpa holster on a nearly daily basis for more than

ten years. He also is the investigating agent for Reffitt’s case. As such, he is familiar with the

holster that was found in Reffitt’s bedroom and with the photograph exhibits. The government

may not, however, elicit testimony that Agent Hightower served as an FBI arms trainer for years

and is a firearms enthusiast. Finally, the Court will hold the government to its representation that

the agent will not testify that Reffitt carried a firearm while at the Capitol on January 6.

       Accordingly, it is

       ORDERED that the government’s Motion in Limine to Limit Cross-Examination of

Secret Service Agency Witnesses, Dkt. 49, is GRANTED. It is further

       ORDERED that the government’s Motion in Limine to Permit the Government to Elicit

Lay Opinion Testimony, Dkt. 48, is GRANTED.



                                                  2
         Case 1:21-cr-00032-DLF Document 97 Filed 02/03/22 Page 3 of 3




       SO ORDERED.

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                                                DABNEY L. FRIEDRICH
                                                United States District Judge
February 3, 2022




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